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     5                                                                                 T OFr~.._

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                                       TED STATES DISTRICT COURT
     s                          CENTRAL DISTRICT OF CALIFORNIA
     9

 10        UNITED STATES OF AMERICA,                               Case No. 2:z!- vV~~' SID
 11
                               Plaintiff,
 1z                                                               ORDER OF DETENTION
                    v.
 13
                           ~u!✓~c~a
          j;oVahn~,
          ~
 14

 15                            Defendant.
 16

17                                                        I.
~$               A.() On motion ofthe Government in a case allegedly involving:
19                 1 •() a crime of violence.
20                 2•() an offense with maximum sentence oflife imprisonment or
                                                                                                   death.
21                 3.      a narcotics or controlled substance offense with
                                                                                       maximum sentence
22                         often or more years,
23                 4- () any felony -where the defendant has been convicted
                                                                            of two ox
24                       more prior offenses described above.
25                5•() any felony that is not otherwise a crime o~ violence
                                                                               that involves a
26                     minor victim, ox possession or use ofa firearm or
                                                                         destructive device or
27                     any other dangerous weapon, or a failure to register
                                                                              under 18 U.S.0
28                     § 2250.
                                ---
                                 ORDBR OF DSTBNT[ON AFTSR HBARING[18 U.S.C,§3142(1))               Y
         CR-94
                                                                                                   Page 1 of4
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                   B~         On motion by the Government /()on Court's own motion, in a case
      2                       allegedly involving:
     3                        On the further allegation by the Government of:
     4                  1.   a serious risk that the defendant will flee.
                         ~-
     5                  2.() a sexious risk that the defendant will:
     6                     a.()obstruct or attempt to obstructjustice.
                           b.()threaten, injure, ox intimidate a prospective witness or juror or
     s                           attempt to do so.
     9             C.      The Government          is/(}is not entitled to a rebuttable presumption that no
 ~o                        condition or combination of conditions will reasonably asswre the defendant's
 1~                       appearance as required and the safety ofany person or the community.
 12                                                             II.
 13               A.~ The Court finds that no condition or combination of conditions
                                                                                     will
 14                   reasonably assure:
 15                     1~) the appearance ofthe defendant as required.
 16                       ~      and/or
1~ I                 2. i~      the safety of any person or the community.
s.s               B.~        The Court finds that the defendant has not rebutted by
                                                                                            sufficient
19                           evidence to the contrary the presumption provided by statute
                                                                                          .
20                                                            III.                            ,
2z                The Court has considered:
22             A. the nature and circumstances of the offenses)
                                                                    charged, including whether fi11e
23                offense is a crime of violence, a Federal crime of
                                                                     terrorism, or involves a minor
24                victim or a controlled substance,firearm, explosive, or
                                                                          destructive device;
25            B. the weight of evidence against the defendant;
26            C. the history and characteristics ofthe defendant;
                                                                    and
27            D. the nature and seriousness ofthe danger to
                                                               any person or to the community.
28

                                      ORDER OF DfiT6NTI0N AFTER HBARING(18 U.S.C. §3142(1))
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     2            The Court also has considered all the evidence adduced at the hearing and the
     3           arguments andlor statements of counsel, and the                              Pretrial Services
     4           Report/recommendation.
     5                                                         V.

     6           The Court bases the foregoing findings) on the following:
                 A.~        As to flight risk:
     s                          Lack of bail resources -$~CjPw
     9                      ❑ Refusal to interview with Pretrial Services
 io                             No stable residence or employment
 ~~                         ❑ Previous failure to appear or violations or probat~or~, parole, or
 12                             release
 13                             Ties to foreign countries - rp~~ I ~ d Sc u3S ~~''"~~ ~~~'~ S{"~``
14                        ~;Unrebutted presumption [18 U.S.C. § 3142(e)(2)]
15                                                                           /   /    ~, n~ ~. ►~   iov,de.~
16                                    S/7     CSP t-2,~ c~~

i~
~s               B. ,(~    As to danger:
19                              Nature of previous criminal convictions
ao                        ~ Allegations in present charging document
21                              Substance abuse
22                         ❑ Already in custody on state or federal offense
23                         ❑ Unrebutted presumption [18 U.S.C. § 3142(e)(2)]
24                        ~Zj     ~~t~dnsi5~~.~,~         O~v~ iilCOra ~-I f, !`'~Tl/✓1ta~~~)/J

25                              p~v ✓,~ ~~ ~~nd
                                                .~
26

27           C.() Defendant submitted to detention

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                                     ORD&R OF D6T6NTION AF7'6R HEARING(18 U.S.C.§3142(1))
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      i                                                 ~.

      2        A.() The Court finds that a serious risk exists that the defendant will:
      3              1.()obstruct or attempt to obstructjustice.
      4             2.()attempt tol( )threaten, injure or intimidate a witness or juror.
      5       B. The Court bases the foregoing findings) on the following:
      6

      7

      8

      9

     10

     11                                               VII.
 12           A. IT IS TI~REFORE ORDERED that the defend
                                                                             ant be detained prior to trial.
 13           B. IT IS FURTHER ORDERED that the def
                                                                 endant be committed to the custody
 14             of the Attorney General for confinement in
                                                                       a corrections facility separate, to
 15        the extent practicable, from persons awaiti
                                                        ng or serving sentences or being
 16       heldzn custody pending appeal.
 i~    C. IT IS FUR'T'HER ORDERED tha
                                               t the defendant be afforded reason
                                                                                     able
 is       opportunity for private consultation wit
                                                   h counsel.
 19   D.  IT IS FURTHER ORDERED that, on
                                                 order of a Court o~the United Stat
                                                                                    es or
 20      on request of any attorney for the
                                              Government, the person in charge
                                                                                  of the
21       corrections facility in which the
                                           defendant is confined deliver the
                                                                              defendant
22       to a United States marshal for the
                                              purpose of an appearance in con
                                                                                nection
23       with a court proceeding.
24  DATED: q ~3~~,2o v~
25

26
                                                               C~~ ~~`~.
                                                 .ALEXANDER F. MacI~;INNON
a~                                               UNITED STATES MA.GISTR.ATE
                                                                                                JUDGE
2s
                             ORDER OF DETENTION AFTER fIBARIKG {18
      CR-94                                                          U.S.C. §3142[9)]
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